        Case 1:24-cv-12354-JEK          Document 13        Filed 11/18/24     Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 SIONYX, LLC,

                Plaintiff,

        v.                                          C.A. No. 1:24-cv-12354-JEK

 APPLE INC.,

                Defendant.                          JURY TRIAL DEMANDED




                      APPLE INC.’S PARTIAL MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Apple Inc. respectfully

moves to dismiss the claims of induced infringement, contributory infringement, and willful

infringement in Counts I, II, and III of the Complaint (ECF No. 1) filed by Plaintiff SiOnyx,

LLC. As grounds for this motion, Apple relies upon its accompanying memorandum of law in

which it explains how SiOnyx’s Complaint fails to state pre- and post-suit claims upon which

relief can be granted for induced infringement, contributory infringement, and willful

infringement of United States Patent Nos. 9,064,764, 10,224,359, and 11,721,714 (collectively,

the “asserted patents”). With respect to all such claims, SiOnyx does not allege that Apple had

pre-suit knowledge of the asserted patents. Furthermore, regarding willful infringement, SiOnyx

fails to plead that Apple knew or should have known that its activities infringed the asserted

patents or that Apple had a specific intent to infringe, and SiOnyx does not plausibly allege that

the mere filing of its Complaint is enough to support a claim of post-suit willful infringement.

With respect to SiOnyx’s pre- and post-suit indirect infringement claims, SiOnyx’s Complaint is

also deficient because SiOnyx merely recites the legal elements of induced and contributory
       Case 1:24-cv-12354-JEK         Document 13         Filed 11/18/24     Page 2 of 3




infringement without including plausible allegations that those elements are met by any Apple

conduct.

 Dated: November 18, 2024                          Respectfully submitted,
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                                               2
       Case 1:24-cv-12354-JEK          Document 13        Filed 11/18/24     Page 3 of 3




                    CERTIFICATION UNDER LOCAL RULE 7.1(a)(2)

       Pursuant to Local Rule 7.1(a)(2), on November 18, 2024, counsel for Apple conferred with

SiOnyx’s counsel in a good faith attempt to resolve or narrow the issues raised by this motion.

Counsel for SiOnyx indicated that SiOnyx opposes Apple’s partial motion to dismiss.

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Apple believes that oral argument may assist the Court.

Apple requests oral argument on this motion.

                                CERTIFICATE OF SERVICE

       The undersigned certifies that on this 18th day of November 2024, all counsel of record

who are deemed to have consented to electronic services are being served with a copy of this

document via email. Any other counsel of record will be served by first class mail.

                                                    /s/ Michael Strapp
                                                    Michael Strapp




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